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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

    LEINANI DESLANDES, on behalf of herself
    and all others similarly situated,

                    Plaintiff,                         Case No. 17-cv-04857

       v.                                              Judge Jorge L. Alonso
                                                       Magistrate Judge M. David Weisman
    McDONALD’S USA, LLC, et al.,

                    Defendants.


    STEPHANIE TURNER, on behalf of herself
    and all others similarly situated,

                    Plaintiff,                         Case No. 19-cv-05524

       v.                                              Judge Jorge L. Alonso
                                                       Magistrate Judge M. David Weisman
    McDONALD’S USA, LLC, et al.,

                    Defendants.


       REPLY IN SUPPORT OF UNITED STATES’ MOTION FOR LEAVE TO FILE
                         STATEMENT OF INTEREST

            Contrary to defendants’ assertion (ECF No. 448 at 2–3), the United States’ motion is

timely. The statutory basis for Statements of Interest, 28 U.S.C. § 517, “contains no time

limitation” on the United States’ participation, Gil v. Winn Dixie Stores, Inc., 242 F. Supp. 3d

1315, 1317 (S.D. Fla. 2017); it applies so long as a suit is “pending,” 28 U.S.C. § 517. Courts

have repeatedly accepted Statements of Interest filed under this provision despite the completion

of briefing, including the Statement in Stigar v. Dough Dough, on which defendants have relied.1


1
 See, e.g., Statement of Interest, Stigar v. Dough Dough, Inc., No. 2:18-cv-00244, ECF No. 34
(E.D. Wash. Mar. 8, 2019) (filed over three months after completion of briefing); Statement of
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       Defendants are also mistaken to suggest that the Court would not benefit from the

government’s participation in this private antitrust case. (ECF No. 448 at 2–3.) Defendants have

repeatedly cited the Stigar Statement, including in the pending dispositive motion. (ECF No.

108 at 6; ECF No. 370 at 6; ECF No. 379 at 15.) The United States has an interest in explaining

why the Stigar Statement does not fully and accurately reflect the government’s current views.

Moreover, the government’s outdated views in Stigar predated the Supreme Court’s decision in

NCAA v. Alston, 141 S. Ct. 2141 (2021), and the Court would benefit from hearing the

government’s position on Alston’s application to this case. Defendants note that this Court

discussed Alston at the class certification stage (ECF No. 448 at 2), but that discussion does not

eliminate the need for further analysis of Alston to resolve the pending dispositive motion, as

defendants demonstrate by citing Alston multiple times in the motion. (ECF No. 379 at 11, 13,

17.) In addition, the United States has an interest in advocating correct interpretations of the

antitrust laws, including in private cases, to facilitate “the longstanding [Congressional] policy of

encouraging vigorous private enforcement of the antitrust laws.” Ill. Brick Co. v. Illinois, 431

U.S. 720, 745 (1977). That interest exists not only in appellate cases that “bind the DOJ or any

other individual” (ECF No. 448 at 3), but also in district court cases that bind the parties and

serve as persuasive authority.



Interest, Global Music Rights, LLC v. Radio Music License Comm., Inc., No. 2:16-cv-9051, ECF
No. 111 (C.D. Cal. Dec. 5, 2019) (filed three-and-a-half months after completion of briefing);
Statement of Interest, NSS Labs, Inc. v. CrowdStrike, Inc., No. 5:18-cv-05711, ECF No. 91
(N.D. Cal. June 26, 2019) (filed over five months after completion of briefing and four weeks
after oral argument); Statement of Interest, Seaman v. Duke Univ., No. 1:15-cv-462, ECF
No. 325 (M.D.N.C. Mar. 7, 2019) (filed over two weeks after defendants served reply briefs in
support of summary judgment motions and three business days before oral argument). In Stigar,
the United States filed a notice of its intent to file a Statement under 28 U.S.C. § 517 nearly two
months after the completion of briefing and twelve days before oral argument, noting that it
would be unable to submit its Statement before the February 6 argument date. The district court
postponed the argument, and the United States filed its Statement on March 8, 2019.
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       The two cases on which defendants rely (ECF No. 448 at 3) are inapposite. While those

courts considered multiple factors, including whether the filings were “timely, useful, or

otherwise necessary to the administration of justice,” LSP Transmission Holdings, LLC v. Lange,

329 F. Supp. 3d 695, 703 (D. Minn. 2018), their multi-factor analysis has no basis in the text of

§ 517; neither opinion even cites the statute. In any event, those factors counsel in favor of

allowing the government’s filing here: The short briefing period proposed by the United States

will not significantly delay the proceedings; no party will suffer prejudice as a result of the filing;

no party has—or possibly could have—articulated the United States’ current views on the

matters at issue; and providing those views will be useful given that defendants relied on an

outdated version of them in a pending motion.

       Finally, the United States would not object if the Court granted both parties leave to

respond to its Statement of Interest, a possibility that the United States suggested in its motion.

See ECF No. 446 at 2.




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February 22, 2022                    Respectfully submitted,

                                     /s/ Peter M. Bozzo

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2022, I electronically filed the foregoing brief by using

the CM/ECF system. Participants in the case are registered CM/ECF users, and service will be

accomplished by the CM/ECF system.



                                                      /s/ Peter M. Bozzo
                                                          Peter M. Bozzo




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